                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                          Case No. 11-51001

BRUEMMER DEVELOPMENT, LLC,                                      Chapter 7

                        Debtor.                                 Judge Thomas J. Tucker
                                                   /

TIMOTHY J. MILLER, TRUSTEE,

                        Plaintiff,

v.                                                              Adv. Pro. No. 13-4414

SHAUN BRUEMMER,
et al.,

                        Defendants./Third
                        Party Plaintiffs,

v.

DENNIS WHEDON,

                        Third Party Defendant.

                                                   /

          OPINION REGARDING DISMISSAL OF THIRD-PARTY COMPLAINT
                 FOR LACK OF SUBJECT MATTER JURISDICTION

         This opinion explains why the Court must dismiss the third-party claims filed by the

Defendants in this adversary proceeding, for lack of subject matter jurisdiction.

I. Background

         A. The Chapter 7 Trustee’s adversary complaint

         In this adversary proceeding, the Plaintiff Timothy R. Miller, who is the trustee in the

Chapter 7 bankruptcy case of Bruemmer Development, LLC, seeks a judgment against




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Defendants Shaun Bruemmer, Executive Realty, LLC (“Executive Realty”), Bruemmer Builders,

LLC (“Bruemmer Builders”), and Arthur Bruemmer (collectively, the “Defendants”), arising out

of a transfer by quit claim deed of a condominium unit located at 3441 Belgian Circle, Jackson,

Michigan (“Unit 17”).1 The pre-petition transfer was made by the Debtor Bruemmer

Development, LLC to Executive Realty. At the time of transfer, Arthur Bruemmer was the sole

owner and managing member of both the Debtor and Bruemmer Builders, and Shaun Bruemmer

was the sole owner and member of Executive Realty. Arthur Bruemmer is married to Shaun

Bruemmer. Shortly after the transfer at issue, Executive Realty sold Unit 17 to third parties for

$175,000. Shaun Bruemmer received a check in the amount of $167,428.26 from the sale of

Unit 17, and deposited the check into an investment account in her name at Wachovia

Investments.

       In his adversary complaint, the Trustee alleges, in relevant part, that Debtor’s transfer of

Unit 17 to Executive Realty was a fraudulent transfer that can be avoided and recovered for the

bankruptcy estate, and that he is entitled to a judgment against the Defendants, jointly and

severally, of “no less than $175,000” plus interest and costs.2 The Trustee also alleges that the

Defendants were parties to a civil conspiracy “to cause the Debtor to convey Unit 17 and the Unit

17 sale proceeds from [the] reach of Debtor’s creditors, including without limitation Fifth Third

Bank,” and that he is entitled to a judgment against the Defendants, jointly and severally, of “no

less than treble the Unit 17 sale price of $175,000” based on his civil conspiracy claim.3



       1
           Am. Compl. (Docket # 50).
       2
           Id. at Counts I-III.
       3
           Id. at Count IV.

                                                   2


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        B. The Defendants’ third-party complaint

        The Defendants filed a third-party complaint against Dennis Whedon (“Whedon”), a

family friend and retired attorney, in which they allege that Arthur and Shaun Bruemmer sought

legal advice from Whedon regarding a possible transfer of Unit 17 by the Debtor, and Whedon

advised them to cause Debtor to transfer Unit 17 to Executive Realty.4 In Count I of their third-

party complaint, captioned “Conspiracy,” Defendants “request that in the event that they are

found liable on Count IV - Conspiracy of Plaintiff's Complaint, that Third-Party Defendant,

Dennis Whedon be found jointly and severally liable with Third-Party Plaintiffs.”5

        In Count II of their third-party complaint, Defendants assert a claim against Whedon for

legal malpractice, and “request that this [C]ourt enter judgment against Dennis Whedon in an

amount they are found to be justly entitled, together with interest, costs, and attorney fees,

including the amount of any judgment which Third-Party Plaintiffs are found to be liable to the

Plaintiff.”6

        C. The Court’s Show-Cause Order

        On June 19, 2014, the Court entered an order entitled “Order Requiring Third Party

Plaintiffs and Third Party Defendant to Show Cause in Writing Why the Court Should Not

Dismiss All of the Third Party Claims in this Adversary Proceeding, for Lack of Subject Matter

Jurisdiction.”7 The Show-Cause Order noted that “[t]he parties to the third party claims



        4
            See Third-Party Compl. (Docket # 33) at ¶¶ 10-14.
        5
            Id. at 4.
        6
            Id. at 5.
        7
            Docket # 145, the “Show-Cause Order.”

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apparently agree that the Court has subject matter jurisdiction over these claims,” but that “the

Court is not bound by that agreement, and must independently determine whether it has subject

matter jurisdiction.”8 The Order further stated that “it appears that this Court lacks subject matter

jurisdiction over the claims in the third party complaint,” and discussed in detail the applicable

statutes and case law that support such a conclusion.9 The Show-Cause Order provided:

                 IT IS ORDERED that no later than July 3, 2014, the Third Party
                 Plaintiffs and the Third Party Defendant each must file a written
                 response to this Order, showing cause why this Court should not


       8
           Docket # 145 at 1-2. The Show-Cause Order explained:

                 As this Court stated previously in another case:

                         The parties cannot create subject matter jurisdiction by
                         mere admission or stipulation. “[F]ederal courts are
                         courts of limited jurisdiction and have a continuing
                         obligation to examine their subject matter jurisdiction
                         throughout the pendency of every matter before them.
                         Parties can neither waive nor consent to subject matter
                         jurisdiction [.]” Michigan Employment Sec. Comm'n v.
                         Wolverine Radio Co., Inc., 930 F.2d 1132, 1137–38 (6th
                         Cir.1991) (citation and footnote omitted); see also
                         Spierer v. Federated Dept. Stores, Inc. (In re Federated
                         Dept. Stores, Inc.), 328 F.3d 829, 833 (6th
                         Cir.2003)(“‘parties may not waive ... or consent to
                         subject matter jurisdiction which a federal court does
                         not properly have.’”)(quoting Universal Consol. Cos. v.
                         Bank of China, 35 F.3d 243, 247 (6th Cir.1994)).
                         Rather, “[i]f the court determines at any time that it
                         lacks subject-matter jurisdiction, the court must dismiss
                         the action.” Fed.R.Civ.P. 12(h)(3).

       Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 28-29 (Bankr. E.D. Mich.
       2009)(footnote omitted); see also Swain v. United States Dep't of Treasury, I.R.S. (In re
       Swain), 437 B.R. 549, 554-55 (Bankr. E.D. Mich. 2010)(same); CMS North America,
       Inc. v. DeLorenzo Marble & Tile, Inc., 521 F. Supp. 2d 619, 632 (W.D. Mich. 2007), and
       cases cited therein.

(Show-Cause Order (Docket # 145) at 2 n.1.)
       9
           Docket # 145 at 2-5.

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                  dismiss all of the claims in the third party complaint for lack of
                  subject matter jurisdiction.

                  If any such party does not timely file such a written response, the
                  Court will assume that such party agrees that this Court lacks
                  subject matter jurisdiction over the third party claims.10

       On July 3, 2014, Defendants filed a response to the Show-Cause Order.11 Third-Party

Defendant Whedon did not file a response. In the Response, Defendants argued that this Court

has subject matter jurisdiction over their third-party claims. The Court disagrees, however, for

the reasons stated below.

II. Discussion

       A. The scope of the bankruptcy court’s jurisdiction

       The Supreme Court has noted that:

                  Federal courts are courts of limited jurisdiction. They possess only
                  that power authorized by Constitution and statute, see Willy v.
                  Coastal Corp., 503 U.S. 131, 136–137, 112 S.Ct. 1076, 1080, 117
                  L.Ed.2d 280 (1992); Bender v. Williamsport Area School Dist., 475
                  U.S. 534, 541, 106 S.Ct. 1326, 1331, 89 L.Ed.2d 501 (1986),
                  which is not to be expanded by judicial decree, American Fire &
                  Casualty Co. v. Finn, 341 U.S. 6, 71 S.Ct. 534, 95 L.Ed. 702
                  (1951). It is to be presumed that a cause lies outside this limited
                  jurisdiction, Turner v. Bank of North America, 4 U.S. (4 Dall.) 8,
                  11, 1 L.Ed. 718 (1799), and the burden of establishing the contrary
                  rests upon the party asserting jurisdiction, McNutt v. General
                  Motors Acceptance Corp., 298 U.S. 178, 182–183, 56 S.Ct. 780,
                  782, 80 L.Ed. 1135 (1936).

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

       As this Court has previously noted, under 28 U.S.C. § 1334(b), bankruptcy courts have



       10
            Id. at 5.
       11
            Docket # 50, the “Response.”

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           subject matter jurisdiction over ‘all cases under title 11,’ and over
           ‘all civil proceedings’ (1) ‘arising under title 11' or (2) ‘arising in’
           a case under title 11 or (3) ‘related to’ a case under title 11.

           A “case under title 11” refers “merely to the bankruptcy petition
           itself, filed pursuant to 11 U.S.C. §§ 301, 302, or 303.” Michigan
           Employment Sec. Comm'n v. Wolverine Radio Co., Inc., 930 F.2d
           1132, 1140 (6th Cir.1991).
           ...

           “The phrase ‘arising under title 11’ describes those proceedings
           that involve a cause of action created or determined by a statutory
           provision of title 11, and ‘arising in’ proceedings are those that, by
           their very nature, could arise only in bankruptcy cases.” Bliss
           Technologies, Inc. v. HMI Indus., Inc. (In re Bliss Technologies,
           Inc.), 307 B.R. 598, 602 (Bankr. E.D. Mich.2004)(quoting
           Wolverine Radio, 930 F.2d at 1144). These two categories of civil
           proceedings are “core” proceedings within the meaning of 28
           U.S.C. §§ 157(b)(1) and 157(b)(2). Id. . . .

           Civil proceedings that fall only within the third category of the
           bankruptcy court's subject matter jurisdiction-its “related to”
           jurisdiction-are non-core. . . .

           The Sixth Circuit has adopted the test articulated in Pacor, Inc. v.
           Higgins (In re Pacor, Inc.), 743 F.2d 984, 994 (3d Cir.1984), for
           determining “related to” jurisdiction:

                   “The usual articulation of the test for determining
                   whether a civil proceeding is related to bankruptcy
                   is whether the outcome of that proceeding could
                   conceivably have any effect on the estate being
                   administered in bankruptcy. Thus, the proceeding
                   need not necessarily be against the debtor or against
                   the debtor's property. An action is related to
                   bankruptcy if the outcome could alter the debtor's
                   rights, liabilities, options, or freedom of action
                   (either positively or negatively) and which in any
                   way impacts upon the handling and administration
                   of the bankrupt estate.”

           Wolverine Radio, 930 F.2d at 1142 (emphasis in original)(quoting
           Pacor, Inc. v. Higgins (In re Pacor, Inc.), 743 F.2d 984, 994 (3d
           Cir. 1984)(emphasis in original)); see also Lindsey v. O’Brien,

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                 Tanski, Tanzer and Young Health Care Providers of Connecticut
                 (In re Dow Corning Corp.), 86 F.3d 482, 489, 490 (6th Cir. 1996).
                 In enacting § 1334(b), “Congressional intent was ‘to grant
                 comprehensive jurisdiction to the bankruptcy courts so that they
                 might deal efficiently and expeditiously with all matters connected
                 with the bankruptcy estate.’” Id. (quoting Celotex Corp. v .
                 Edwards, 514 U.S. 300, 308 (1995)). Proceedings “related to” the
                 bankruptcy case include “more than simple proceedings involving
                 the property of the debtor or the estate.” Celotex Corp. v .
                 Edwards, 514 U.S. at 308. And such “related to” proceedings
                 include even “suits between third parties which have an effect on
                 the bankruptcy estate.” Id. at 308 n.5. But the Sixth Circuit has
                 cautioned against finding “related to” jurisdiction in “situations . . .
                 where [there is] an extremely tenuous connection to the estate[.]”
                 See Wolverine Radio, 930 F.2d at 1142.

Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 26-28 (Bankr. E.D. Mich.

2009)(footnotes omitted); see also Swain v. United States Dep’t of Treasury, I.R.S. (In re Swain),

437 B.R. 549, 561-62 (Bankr. E.D. Mich. 2010).

       B. Lack of jurisdiction over the third-party claims

       Applying the principles discussed above, the Court concludes that there is no “related to”

jurisdiction, or any other basis of bankruptcy court subject matter jurisdiction, over the third-

party claims in this case. Those claims are state-law claims that are being asserted against a

non-debtor, by parties who are neither the debtor nor the trustee in the bankruptcy case. The

outcome of such third-party claims will have no conceivable effect on the estate being

administered in this Chapter 7 bankruptcy case.

       Cases that support the Court’s conclusion that there is no “related to” jurisdiction include

the following:

       •   Scott v. Equitable Fed. Savs. and Loan Ass'n (In re German), 97 B.R. 373, 375
           (Bankr. S.D. Ohio 1989)(Chapter 7 trustee filed an adversary complaint against a
           savings and loan association, objecting to its proof of claim, and for recovery of a
           money judgment based on the wrongful repossession and sale of the debtor's mobile

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              home, and the savings and loan association, in turn, filed a third party complaint
              against its servicing agent for indemnification of any liability that may attach to it as a
              result of the trustee’s adversary proceeding; the bankruptcy court held that it did not
              have “related to” subject matter jurisdiction over the third party action between the
              two non-debtor parties under Pacor, Inc. v. Higgins (In re Pacor, Inc.), 743 F.2d 984,
              994 (3d Cir.1984), because the third party action could not be said “to have any effect
              on [the d]ebtors’ estate or the underlying bankruptcy case”);

        •     Barber v. Riverside Int'l Trucks, Inc. (In re Pearson Indus., Inc.), 142 B.R. 831,
              849–50 (Bankr. C.D. Ill.1992) (citations omitted) (Chapter 7 Trustee filed a
              preference action against a non-debtor chassis seller, who in turn filed a third party
              complaint against another non-debtor seeking indemnity or contribution; the
              bankruptcy court held that where, as in that case, the third party complaint “involved a
              dispute between non-debtors which [would] merely determine which party [would]
              ultimately be responsible in the event that one of the nondebtors is found liable in the
              underlying adversary proceeding, [subject matter ] jurisdiction [was] lacking”); and

        •     GLC Limited v. Smith (In re GLC Limited), 475 B.R. 618, 620-21 (Bankr. S.D. Ohio
              2012)(citations omitted)(Chapter 11 debtor filed an adversary proceeding against an
              individual defendant, seeking to avoid as a fraudulent transfer, fictitious profits the
              defendant allegedly received from the debtor’s principals in a Ponzi scheme; and the
              defendant, in turn, filed a third party complaint for contribution and indemnification
              against his ex-wife alleging that if a judgment was entered against him in the
              adversary proceeding, she was liable for half of the fictitious profits; the bankruptcy
              court held that “[a] third-party action between non-debtors for indemnification of
              liability to the debtor on the primary complaint is not a related proceeding” and thus
              the court “[did] not possess jurisdiction to hear the defendant's count for contribution
              and indemnification” against his ex-wife).

        1. Defendants’ arguments

        Defendants argue that because there are common issues between the main action and the

third-party action, it would be an inefficient use of judicial resources to split the litigation into

two pieces, and that such a split could lead to inconsistent results. Defendants make the

following additional arguments in the Response:

        1. If the Court has “jurisdiction over the alleged conspiracy,” it has jurisdiction over the
           entire conspiracy, which, Defendants allege, included Whedon.12


        12
             See Response at 2.

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        2. The cases cited by the Court in its Show-Cause Order in support of a finding that the
           Court does not have “related to” subject matter jurisdiction “do not involve concerted
           action (i.e. the essence of a conspiracy), . . . but rather depend upon separate
           underlying theories of liability which plaintiffs have against defendants” and so
           should not be applied here.13 Rather, “[i]n cases involving joint conduct,” the Court
           should use the functional approach of the “intertwining” test articulated in, and
           employed by, the court in Ameritrust Co. v. Opti-Gage, Inc. (In re Opti-Gage, Inc.,
           128 B.R. 189 (Bankr. S.D. Ohio 1991).14 Under this approach, Defendants say, the
           Court has “related to” subject matter jurisdiction over the claims in the third-party
           complaint.15

        3. The Court has “related to” subject matter jurisdiction over the claims in the third-
           party complaint because the findings of the court on the third-party claims “have the
           potential to impact the [D]ebtor’s estate, both from the aspect of the size of the estate
           and the claims against the estate.”16

        The Court must reject Defendants’ arguments.

        First, with regard to the judicial economy argument, the Court notes that the possibility of

"duplication of judicial resources, and potentially . . . inconsistent results” is not a basis, alone, to

find subject matter jurisdiction here. And it does not demonstrate that the bankruptcy court has

“related to” jurisdiction. Although the third party claims may be related to the Trustee's claims

(which in turn are “related to” the bankruptcy case), this is not enough — it is not enough to

establish “related to” jurisdiction merely that a claim is “related to” a claim that is “related to”

the bankruptcy case.

        Second, regarding the argument numbered 1 above, there is no such thing as subject

matter jurisdiction over “a conspiracy.” Rather, the Court has jurisdiction (or not) over claims.



        13
             Id. (bold in original).
        14
             See Response at 3.
        15
             See id.
        16
             See id..

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The claims that the Trustee has against Defendants are separate and distinct from any claims that

Defendants may have against Whedon, and the Trustee’s claims exist independently of the third-

party claims. The Court can determine the merits of the Trustee’s claims against Defendants

without determining the merits of Defendants’ claims against Whedon.

        Third, the Court disagrees with Defendants’ effort to distinguish the cases cited above

(which were also cited in the Show-Cause Order). In substance, the third-party complaint against

Whedon seeks indemnity or contribution from Whedon, to the extent Defendants are found liable

on the claims in the Trustee’s complaint. All three cases cited above are on point. They all

applied the Pacor test for determining whether the bankruptcy court had “related to” subject

matter jurisdiction over third-party complaints seeking indemnity or contribution.

        If and to the extent the 1991 bankruptcy court decision in Opti-Gage case cited by

Defendants is inconsistent with the Court’s conclusion in this case, the Court respectfully

disagrees with Opti-Gage. Opti-Gage held that “proceedings are ‘related to’ bankruptcy cases

not only where the outcome of the proceeding may conceivably have an effect upon the estate

being administered, but also where parties are sufficiently intertwined with the debtor.” 128 B.R.

at 195 (italics in original). This vague “sufficiently intertwined with the debtor” standard is not

consistent with the Pacor test, quoted above, which under Sixth Circuit precedent this Court

must apply. Under the Pacor test, there is no “related to” jurisdiction over the third-party claims

in this case.

        Fourth, regarding Defendants’ argument numbered 3 above, the only argument that

attempts to apply the Pacor test, Defendants have failed to meet their burden of demonstrating

jurisdiction, see Kokkonen, 511 U.S. at 377, because they have failed to meet their burden to


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demonstrate that the resolution of their third-party claims could have any impact on the

administration of the Chapter 7 bankruptcy estate. If successful, the Trustee’s claims against

Defendants will benefit the bankruptcy estate, but the outcome of the Defendant’s claims against

Whedon will have no impact on the bankruptcy estate, and will have no impact on the

bankruptcy Debtor, Bruemmer Development, LLC.

       2. Supplemental jurisdiction (sometimes referred to as “ancillary jurisdiction”)

       Finally, and even though Defendants have not raised this issue, the Court will consider

whether in the absence of “related to” jurisdiction over the third-party claims, the bankruptcy

court has “ancillary” or “supplemental” jurisdiction over those claims. In the Opti-Gage case

cited by Defendants, the bankruptcy court in that 1991 decision stated, in dictum, that in the

event that the cross-claims before the court were not “related to” the bankruptcy case, “then it

would be appropriate to explore the subjects of ancillary or pendent jurisdiction.” 128 B.R. at

193. For this proposition, the court cited Petrolia Corp. v. Elam (In re Petrolia Corp.), 79 B.R.

686 (Bankr. E.D. Mich. 1987). In the Petrolia Corp. case, a bankruptcy judge in this district

ruled that because the bankruptcy court is a unit of the district court, the bankruptcy court has the

same sort of “ancillary jurisdiction” that the district court does. See 79 B.R. at 689. The court

held that even if the bankruptcy court has no “related to” jurisdiction, or other jurisdiction, over a

claim under 28 U.S.C. § 1334, it has jurisdiction over a claim that is “ancillary” to a claim over

which it does have § 1334 jurisdiction. See id.

       The Petrolia Corp. court stated that “[f]ederal courts have ancillary jurisdiction to hear

nonfederal claims in order to effectively resolve an entire, logically entwined lawsuit,” 79 B.R. at

689, and described “ancillary jurisdiction” in this way:


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                      “The term ancillary jurisdiction, in fully flowered
                      form, then, is used to consider the court's
                      jurisdiction over claims which are an outgrowth of
                      the claims by the original plaintiff or plaintiffs
                      against the original defendant or defendants. These
                      would include compulsory counterclaims,
                      cross-claims, third-party claims, claims against an
                      additional party as part of one of the above, and
                      intervention as of right.”

               J. Landers & James A. Martin, Civil Procedure 214 (1981).
                      The contours of ancillary jurisdiction were defined by the
               Supreme Court in United Mine Workers v. Gibbs, 383 U.S. 715, 86
               S.Ct. 1130, 16 L.Ed.2d 218 (1966), then further limited by
               Aldinger v. Howard, 427 U.S. 1, 96 S.Ct. 2413, 49 L.Ed.2d 276
               (1975), and Zahn v. International Paper Co., 414 U.S. 291, 94
               S.Ct. 505, 38 L.Ed.2d 511 (1973). Owen Equipment, 437 U.S. at
               371–373, 98 S.Ct. at 2401–2402.

                       Gibbs involved pendent jurisdiction, but it delineated the
               constitutional limits of the federal judicial power to hear state law
               claims when independent bases for federal jurisdiction are not
               present.

                      The state and federal claims must derive from a
                      common nucleus of operative fact. But if,
                      considered without regard to their federal or state
                      character, a plaintiff's claims are such that he would
                      ordinarily be expected to try them all in one judicial
                      proceeding, then, assuming substantiality of the
                      federal issues, there is power in federal courts to
                      hear the whole. [Emphasis in original.]

               383 U.S. at 725, 86 S.Ct. at 1138.

                     However, Aldinger and Zahn noted that this federal judicial
               power may be limited by statute.

                      The Aldinger, and Zahn, cases thus make clear that
                      a finding that federal and nonfederal claims arise
                      from a ‘common nucleus of operative fact,’ the test
                      of Gibbs, does not end the inquiry into whether a
                      federal court has power to hear the non-federal
                      claims along with the federal ones. Beyond this

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                        constitutional minimum, there must be an
                        examination of the posture in which the non-federal
                        claim is asserted and of the specific statute that
                        confers jurisdiction over the federal claim, in order
                        to determine whether ‘Congress in [that statute] has
                        . . . expressly or by implication negated’ the
                        exercise of jurisdiction over the particular
                        non-federal claim.

                Owen Equipment, 437 U.S. at 373, 98 S.Ct. at 2402, citing
                Aldinger, 427 U.S. at 18, 96 S.Ct. at 2422.

Id. (emphasis in original)(footnote omitted). Applying these standards, the bankruptcy court held

that it had ancillary jurisdiction over the claim before it.

        Three years after the decision in Petrolia, Congress enacted 28 U.S.C. § 1367, entitled

“Supplemental jurisdiction,” which became effective December 1, 1990. After the enactment of

28 U.S.C. § 1367, most courts have referred to what the court in Petrolia called ancillary

jurisdiction as a form of supplemental jurisdiction.17

        Section 1367(a) provides:

        17
            See Womack v. Dolgencorp., Inc., 957 F. Supp.2d 1350, 1352 (N.D. Ala. 2013)(“In passing
28 U.S.C. § 1367, part of the Judicial Improvements Act of 1990, Congress codified under the name of
‘supplemental jurisdiction’ the caselaw doctrines of ‘pendent’ and ‘ancillary’ jurisdiction.”)(quoting 28
U.S.C. § 1367 (commentary) and also relying on Palmer v. Hosp. Auth. of Randolph Cnty., 22 F.3d 1559,
1563 n. 3 (11th Cir.1994) (“Formerly known as pendent and ancillary jurisdiction, such grounds for the
exercise of federal subject matter jurisdiction have now been codified in 28 U.S.C. § 1367.”)); Faulkner
v. Eagle View Capital Mgmt. (In re Heritage Org., Inc.), 454 B.R. 353, 371-373, (Bankr. N. D. Tex.
2011)(stating that “[t]he concept of ancillary jurisdiction has been codified, along with the concept of
pendent jurisdiction, in the supplemental jurisdiction statute” and that “[n]othing in § 1367 indicates a
congressional intent to recognize, preserve, or create some meaningful, substantive distinction between
the jurisdictional categories we have historically labelled pendent and ancillary.”)(relying, in part, on
Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 559 (2005), and Griffin v. Lee, 621 F.3d 380,
385 (“‘Congress has codified those principles in the supplemental jurisdiction statute, which combines
the doctrines of pendent and ancillary jurisdiction under a common heading, 28 U.S.C. § 1367.’”)
(quoting City of Chicago v. Int'l Coll. Of Surgeons, 522 U.S. 156, 165 (1997))); Bass v. Denney (In re
Bass), 171 F.3d 1016, 1024 (5th Cir. 1999)(“Ancillary jurisdiction is now one facet of ‘supplemental
jurisdiction.’”); but see United States v. Field, No. 13-1538, 2014 WL 2898529, *2 (6th Cir. June 27,
2014)(stating that “[w]hereas ‘supplemental’ or ‘pendant’ jurisdiction is treated under 28 U.S.C. § 1367,
‘ancillary’ jurisdiction is governed by case law.”).

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                (a) Except as provided in subsections (b) and (c) or as expressly
                provided otherwise by Federal statute, in any civil action of which
                the district courts have original jurisdiction, the district courts shall
                have supplemental jurisdiction over all other claims that are so
                related to claims in the action within such original jurisdiction that
                they form part of the same case or controversy under Article III of
                the United States Constitution. Such supplemental jurisdiction
                shall include claims that involve the joinder or intervention of
                additional parties.

28 U.S.C. § 1367.

       Section 1367 codifies the supplemental jurisdiction of the district courts. It does not

mention bankruptcy courts or bankruptcy judges, and is not explicitly linked to bankruptcy

courts. See Walker v. Cadle Co. (In re Walker), 51 F.3d 562, 571, 572 (5th Cir. 1995)(italics in

original)(“While § 1367 addressed the power of the district courts to exercise supplemental

jurisdiction, it did not discuss the power of the bankruptcy courts to reach pendent parties.”). Of

course, 28 U.S.C. § 1334, which creates subject matter jurisdiction in the district courts over

bankruptcy and bankruptcy-related cases, does not mention bankruptcy courts or bankruptcy

judges either. 28 U.S.C. § 157 is the section that authorizes the district court to refer cases and

proceedings to bankruptcy judges, and it is limited to the types of matters explicitly covered by

§ 1334 — i.e., cases under title 11; proceedings arising under title 11; proceedings arising in a

case under title 11; and proceedings related to a case under title 11. See 28 U.S.C. § 157(a).

While § 157 does contain this link to matters of the type covered by the § 1334 jurisdictional

statute, § 157 contains no link to the supplemental jurisdiction statute, 28 U.S.C. § 1367.

       This Court concludes that as a bankruptcy court, it does not have, and may not exercise,

supplemental jurisdiction, which some cases, such as Petrolia, have called ancillary jurisdiction.

The Court notes first that there is a split of authority over this issue. See, e.g., Townsquare


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Media, Inc. v. Brill, 652 F.3d 767, 771-72 (7th Cir. 2011)(describing the split of authority on

“whether bankruptcy courts have supplemental jurisdiction” and citing cases, treatises and law

review articles on this issue, but finding it unnecessary to decide the issue); Rhiel v. Central

Mortgage Co. (In re Kebe), 444 B.R. 871, 879-880 (Bankr. S.D. Ohio 2011)(describing “a split

of authority on the issue of whether bankruptcy courts may properly exercise supplemental

jurisdiction pursuant to 28 U.S.C. § 1367(a);” noting that the majority view is that “bankruptcy

courts are not authorized to exercise supplemental jurisdiction;” and that “[t]he Sixth Circuit

Court of Appeals has not yet addressed the issue;” but finding it unnecessary to decide the issue).

       This Court has reviewed cases on both sides of this issue, and agrees with the majority

view, that bankruptcy courts do not have supplemental jurisdiction. This was the holding of the

United States Court of Appeals for the Fifth Circuit in Walker v. Cadle Co. (In re Walker), 51

F.3d 562, 571 (5th Cir. 1995). The Walker court affirmed a district court’s decision, that the

bankruptcy court lacked jurisdiction over a third-party claim for contribution and indemnity

asserted by a defendant in an adversary proceeding against a non-debtor individual. Id. at 563.

Walker reasoned as follows:

                Simply put, even assuming that a district court could exercise
                jurisdiction supplemental to its bankruptcy jurisdiction described in
                28 U.S.C. § 1334, there is nothing in the jurisdictional statutes to
                indicate that the district court could refer such a case to a
                bankruptcy court.

                        Congress has gone to great lengths to determine what
                proceedings may be tried by bankruptcy courts, and “the exercise
                of ancillary and pendent jurisdiction by bankruptcy courts could
                subsume the more restrictive ‘relate to’ and ‘arising in’
                jurisdiction, such that the latter would be rendered substantially, if
                not entirely, superfluous.” [Southtrust Bank v. Alpha Steel Co. (In
                re Alpha Steel Co.),] 142 B.R. [465,] 471 [(M.D. Ala.1992)];
                accord [Wilcox v. Houghton (In re Houghton)],164 B.R. [146,] 148

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                [(Bankr.W. D.Wash.1994)]. Thus, it would be somewhat
                incongruous to gut this careful system by allowing bankruptcy
                courts to exercise supplemental jurisdiction to pull into bankruptcy
                courts matters Congress excluded in its specific jurisdictional
                grants. See In re Houghton, 164 B.R. at 148; [Fisher v. Federal
                Nat'l Mortgage Ass'n (In re Fisher), 151 B.R. [895,] 899 [(Bankr.
                N.D. Ill.1993)]; In re Alpha Steel, Inc., 142 B.R. at 471.

                        Additionally, even if supplemental jurisdiction were
                thought to “supplement [ ] rather than supplant[ ] ‘related to’ and
                ‘arising in’ jurisdiction, a bankruptcy court exercising the former
                could hear claims which in effect, merely relate to claims which
                themselves have only a relate-to connection with the primary case.”
                In re Alpha Steel, Inc., 142 B.R. at 471 (internal quotation
                omitted). It seems unlikely that Congress would have intended
                such a result, especially after carefully delimiting bankruptcy
                jurisdiction in § 157. Moreover, as noted above, such a result
                would contravene the Supreme Court’s directive in Finley
                instructing courts not to “read jurisdictional statutes broadly.”
                [Finley v. United States, 490 U.S. 545,] 549, [109 S.Ct. [2003,]
                2007. Thus, we find that the district court correctly concluded that
                the bankruptcy court could not exercise supplemental jurisdiction
                over Cadle’s third-party claim.

Walker, 51 F.3d at 573. The Court agrees with Walker, and concludes that bankruptcy courts do

not have the authority to exercise supplemental jurisdiction, or as some cases call it, ancillary

jurisdiction.

III. Conclusion

        For the reasons stated in this opinion, the Court will enter an order dismissing

Defendants’ third-party complaint and all of the claims in it, for lack of subject matter

jurisdiction.


Signed on July 18, 2014                               /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge



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